                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                 No. CR 12-2024
 vs.                                              ORDER REGARDING
                                             MAGISTRATE’S REPORT AND
 BRYANT OLIVE,                                    RECOMMENDATION
                                              CONCERNING DEFENDANT’S
                Defendant.                           GUILTY PLEAS
                                ____________________


                       I. INTRODUCTION AND BACKGROUND
       On August 22, 2012, a two-count Indictment was returned against the defendant
Bryant Olive.     On January 16, 2013, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered pleas of guilty to Counts 1 and 12 of the
Indictment. On January 16, 2013, Judge Scoles filed a Report and Recommendation in
which he recommended that defendant’s guilty pleas be accepted. No objections to Judge
Scoles' Report and Recommendation were filed. The court, therefore, undertakes the
necessary review of Judge Scoles' recommendation to accept defendant’s pleas in this case.


                                     II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].


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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of January 16,
2013, and accepts defendant’s pleas of guilty in this case to Counts 1 and 12 of the
Indictment.
       IT IS SO ORDERED.
       DATED this 31st day of January, 2013.




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